         Case 4:19-cv-03074-YGR Document 458 Filed 12/06/21 Page 1 of 33


 1                            UNITED STATES DISTRICT COURT
 2                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3                                    OAKLAND DIVISION
 4
     DONALD R. CAMERON, et al.                   Case No. 4:19-cv-03074-YGR
 5
                         Plaintiffs              ORDER RE: PENDING ADMINISTRATIVE
 6                                               MOTIONS TO SEAL
          v.
 7
     APPLE INC.,
 8                       Defendant.
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 1           Pursuant to Civil Local Rule 79-5, on June 1, 2021 Plaintiffs Donald R. Cameron and Pure
 2   Sweat Basketball, Inc. (“Plaintiffs”) filed an administrative motion to file under seal its class
 3   certification motion and supporting documents at Dkt. 331, supported by declarations at Dkt. 331-1
 4   (Plaintiffs), Dkt. 337 (Google), Dkt. 338 (Valve), Dkt. 342 (Microsoft), Dkt. 343 (Microsoft), Dkt.
 5   345 (Apple), Dkt. 347 (Epic), Dkt. 348 (Samsung). On June 11, 2021, Plaintiffs filed an
 6   administrative motion to file under seal errata regarding the expert class certification report of
 7   Professor Economides at Dkt. 349, supported by a declaration at Dkt. 351 (Apple). On August 11,
 8   2021, Defendant Apple Inc. filed an administrative motion to file under seal its opposition to
 9   Plaintiffs’ class certification motion at Dkt. 376 (amended at Dkt. 381 and further amended at Dkt.
10   436), supported by declarations at Dkt. 376-2 (Apple) (amended at Dkt. 381-2 and further amended at
11   Dkt. 436-2), Dkt. 389 (Samsung), Dkt. 402 (Valve), Dkt. 403 (Samsung), Dkt. 404 (Playtika), Dkt.
12   409 (Amazon), Dkt. 410 (Activision Blizzard), Dkt. 414 (Nintendo), Dkt. 415 (Tencent), Dkt. 416
13   (Microsoft), Dkt. 417 (Epic), Dkt. 418 (Epic), Dkt. 420 (Sony), Dkt. 421-1 (Google), Dkt. 5091
14   (Match); Dkt. 5102 (Pocket Gems), and Dkt. 5173 (Roblox). On August 26, 2021, Plaintiffs filed an
15   administrative motion to file under seal the declaration of Professor Economides in support of the
16   motion for preliminary approval of class action settlement at Dkt. 399, supported by declarations at
17   Dkt. 399-1 (Plaintiffs), and Dkt. 406 (Apple). On September 3, 2021, non-party Valve Corp. filed an
18   administrative motion to file under seal expert reports originally filed by Apple in support of its
19   opposition to Plaintiffs’ class certification motion at Dkt. 426 supported by a declaration at 426-1 and
20   427 (Valve). Portions of these Sealing Requests have been withdrawn as reflected in the Joint
21   Statement of Apple and Plaintiffs Regarding Pending Motions to Seal, as well as any filings from
22   third parties effectuating such withdrawals.
23

24

25    1
          This docket number refers to the docket of related matter In re Apple iPhone Antitrust Litigation,
          Case No. 4:11-cv-06714-YGR (N.D. Cal 2011).
26
      2
          This docket number refers to the docket of related matter In re Apple iPhone Antitrust Litigation,
27        Case No. 4:11-cv-06714-YGR (N.D. Cal 2011).
28    3
          This docket number refers to the docket of related matter In re Apple iPhone Antitrust Litigation,
          Case No. 4:11-cv-06714-YGR (N.D. Cal 2011).


                            ORDER RE: PENDING ADMINISTRATIVE MOTIONS TO SEAL
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 1          Having considered these Sealing Requests (to the extent they have not been withdrawn), all
 2   associated declarations, exhibits, and any argument of counsel, and for good cause appearing:
 3          IT IS HEREBY ORDERED that the Sealing Requests are GRANTED IN PART AND DENIED IN
 4   PART as follows:
        Requesting        Document Sought to be Description or Pages                Grant or Deny
 5      Party and               Sealed                & Lines
          Sealing
 6       Request
      Activision                                                           GRANTED
 7    Blizzard, Dkt.     Economides Deposition
      410                Transcript, Dkt. 410-3     188:15
 8    Activision                                                           GRANTED
      Blizzard, Dkt.     Economides Deposition
 9    410                Transcript, Dkt. 410-3     190:18
      Activision                                                           GRANTED
10    Blizzard, Dkt.     Economides Deposition
      410                Transcript, Dkt. 410-3     191:13
11    Activision                                                           GRANTED
      Blizzard, Dkt.     Economides Deposition
12    410                Transcript, Dkt. 410-3     191:20
      Activision                                                           GRANTED
13    Blizzard, Dkt.     Economides Deposition
      410                Transcript, Dkt. 410-3     191:24
14    Activision                                                           GRANTED
      Blizzard, Dkt.     Economides Deposition
15    410                Transcript, Dkt. 410-3     191:25
16    Activision                                                           GRANTED
      Blizzard, Dkt.     Economides Deposition
17    410                Transcript, Dkt. 410-3     195:18
      Activision                                                           GRANTED
18    Blizzard, Dkt.     Economides Deposition
      410                Transcript, Dkt. 410-3     201:21
19    Activision                                                           GRANTED
      Blizzard, Dkt.     Economides Deposition
20    410                Transcript, Dkt. 410-3     202:10
      Activision                                                           GRANTED
21    Blizzard, Dkt.     Economides Deposition
      410                Transcript, Dkt. 410-3     202:12
22    Activision                                                           GRANTED
      Blizzard, Dkt.     Economides Deposition
23    410                Transcript, Dkt. 410-3     202:5
      Activision                                                           GRANTED
24    Blizzard, Dkt.     Economides Deposition
      410                Transcript, Dkt. 410-3     203:10
25    Activision                                                           GRANTED
      Blizzard, Dkt.     Economides Deposition
26    410                Transcript, Dkt. 410-3     203:24
      Activision                                                           GRANTED
27    Blizzard, Dkt.     Hitt Expert Report, Dkt.
      410                410-1                      Figure 22
28


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 1     Requesting      Document Sought to be Description or Pages                 Grant or Deny
       Party and             Sealed                & Lines
 2      Sealing
        Request
 3   Activision                                                           GRANTED
     Blizzard, Dkt.    Schmalensee Expert Report,
 4   410               Dkt. 410-2                 Footnote 229
     Activision                                                           GRANTED
 5   Blizzard, Dkt.    Schmalensee Expert Report,
     410               Dkt. 410-2                   Paragraph 182
 6   Amazon, Dkt.      Hitt Expert Report, Dkt.                           GRANTED
     409               376-4                        ¶ 88
 7   Amazon, Dkt.      Hitt Expert Report, Dkt.                           GRANTED
     409               376-4                        ¶ 89
 8   Amazon, Dkt.      Hitt Expert Report, Dkt.                           GRANTED
     409               376-4                        ¶ 90
 9   Amazon, Dkt.      Hitt Expert Report, Dkt.                           GRANTED
     409               376-4                        Footnote 145
10   Amazon, Dkt.      Hitt Expert Report, Dkt.                           GRANTED
     409               376-4                        Footnote 146
11   Amazon, Dkt.      Hitt Expert Report, Dkt.                           GRANTED
     409               376-4                        Footnote 147
12   Amazon, Dkt.      Hitt Expert Report, Dkt.                           GRANTED
     409               376-4                        Footnote 149
13   Amazon, Dkt.      Hitt Expert Report, Dkt.                           GRANTED
     409               376-4                        Footnote 151
14
     Amazon, Dkt.      Hitt Expert Report, Dkt.                           GRANTED
     409               376-4                        Footnote 152
15
     Amazon, Dkt.      Hitt Expert Report, Dkt.                           GRANTED
16   409               376-4                        Footnote 153
     Amazon, Dkt.      Schmalensee Expert Report,                         GRANTED
17   409               Dkt. 376-8                   ¶ 160
     Amazon, Dkt.      Schmalensee Expert Report,                         GRANTED
18   409               Dkt. 376-8                   Footnote 267
                       Berman Decl. Ex. 1 - APL-                          GRANTED
19                     APPSTORE_10170219,           APPSTORE_10170220–
     Apple, Dkt. 345   Dkt. 346-2                   227
20                     Berman Decl. Ex. 12 - PX-                          GRANTED
     Apple, Dkt. 345   2385, Dkt. 346-4             Pages 1-5, 7-25, 27
21                     Berman Decl. Ex. 13 - PX-                          GRANTED
     Apple, Dkt. 345   2392, Dkt. 346-5             Pages 2, 3, 5-10
22                                                                        GRANTED IN PART AND
                                                                          DENIED IN PART. The email
23                     Berman Decl. Ex. 14 - APL-                         addresses are sealed. Everything
     Apple, Dkt. 345   EG_05547702, Dkt. 346-6     APL-EG_05547702        else shall be unredacted.
24                                                 APL-                   GRANTED
                                                   APPSTORE_10187826,
25                     Berman Decl. Ex. 15 - APL- -829–847, -851–861, -
                       APPSTORE_10187823,          863–921, -925–956, -
26   Apple, Dkt. 345   Dkt. 346-7                  958–968, -970–993
                       Berman Decl. Ex. 6 - APL- APL-EG_09689923– GRANTED
27   Apple, Dkt. 345   EG_09689923, Dkt. 346-3     938
                       Class Certification Motion,                      GRANTED
28   Apple, Dkt. 345   Dkt. 346-1                  11:16-18


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 1     Requesting       Document Sought to be Description or Pages           Grant or Deny
       Party and              Sealed                & Lines
 2      Sealing
        Request
 3                     Class Certification Motion,                   GRANTED
     Apple, Dkt. 345   Dkt. 346-1                    14:27-28
 4                     Class Certification Motion,                   GRANTED
     Apple, Dkt. 345   Dkt. 346-1                    15:8
 5                     Class Certification Motion,                   GRANTED
     Apple, Dkt. 345   Dkt. 346-1                    19:15-17
 6                     Class Certification Motion,
     Apple, Dkt. 345   Dkt. 346-1                    2:24-25         GRANTED
 7                     Class Certification Motion,
     Apple, Dkt. 345   Dkt. 346-1                    20:8            GRANTED
 8                                                                   GRANTED IN PART AND
                                                                     DENIED IN PART. The
 9                                                                   percentages and dollar amounts
                       Class Certification Motion,                   are sealed. Everything else shall
10   Apple, Dkt. 345   Dkt. 346-1                    23:17-22        be unredacted.
                                                                     GRANTED IN PART AND
11                                                                   DENIED IN PART. The first
                                                                     sentence and the exhibit cite
12                                                                   following the first sentence are
                       Class Certification Motion,                   sealed. Everything else shall be
13   Apple, Dkt. 345   Dkt. 346-1                    3:28-4:6        unredacted.
                                                                     GRANTED IN PART AND
14                                                                   DENIED IN PART. The projected
                                                                     percentage in 2020 and the data
15                                                                   in chart from 2019 onward is
                       Class Certification Motion,                   sealed. Everything else shall be
16   Apple, Dkt. 345   Dkt. 346-1                    5:11-13         unredacted.
                                                                     GRANTED IN PART AND
17                                                                   DENIED IN PART. The third,
                                                                     fourth, fifth, and sixth sentences
18                                                                   are sealed. Everything else shall
                       Class Certification Motion,                   be unredacted.
19   Apple, Dkt. 345   Dkt. 346-1                    6:1-6:10
                                                                     GRANTED IN PART AND
20                                                                   DENIED IN PART. The
                                                                     percentages are to remain
21                     Class Certification Motion,                   sealed. Everything else shall be
     Apple, Dkt. 345   Dkt. 346-1                    Footnote 3      unredacted.
22
                       Economides Expert Report,                     GRANTED
     Apple, Dkt. 345   Dkt. 346-10                   Figure 1
23
                       Economides Expert Report,                     GRANTED
24   Apple, Dkt. 345   Dkt. 346-10                   Figure 2
                       Economides Expert Report,                     GRANTED
25   Apple, Dkt. 345   Dkt. 346-10                   Footnote 105
                       Economides Expert Report,                     GRANTED
26   Apple, Dkt. 345   Dkt. 346-10                   Footnote 35
                       Economides Expert Report,                     GRANTED
27   Apple, Dkt. 345   Dkt. 346-10                   Footnote 36
                       Economides Expert Report,                     GRANTED
28   Apple, Dkt. 345   Dkt. 346-10                   Footnote 40


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 1     Requesting      Document Sought to be Description or Pages          Grant or Deny
       Party and             Sealed                & Lines
 2      Sealing
        Request
 3                     Economides Expert Report,                    GRANTED
     Apple, Dkt. 345   Dkt. 346-10                 Footnote 50
 4                     Economides Expert Report,                    GRANTED
     Apple, Dkt. 345   Dkt. 346-10                 Page 4
 5                     Economides Expert Report,                    GRANTED
     Apple, Dkt. 345   Dkt. 346-10                 Paragraph 19
 6                     Economides Expert Report,                    GRANTED
     Apple, Dkt. 345   Dkt. 346-10                 Paragraph 20
 7                     Economides Expert Report,                    GRANTED
     Apple, Dkt. 345   Dkt. 346-10                 Paragraph 21
 8                     Economides Expert Report,                    GRANTED
     Apple, Dkt. 345   Dkt. 346-10                 Paragraph 22
 9                     Economides Expert Report,                    GRANTED
     Apple, Dkt. 345   Dkt. 346-10                 Paragraph 24
10                     Economides Expert Report,                    GRANTED
     Apple, Dkt. 345   Dkt. 346-10                 Paragraph 25
11                     Economides Expert Report,                    GRANTED
     Apple, Dkt. 345   Dkt. 346-10                 Paragraph 26
12                     Economides Expert Report,                    GRANTED
     Apple, Dkt. 345   Dkt. 346-10                 Paragraph 37
13
                       Economides Expert Report,                    GRANTED
     Apple, Dkt. 345   Dkt. 346-10                 Paragraph 47
14
                       Economides Expert Report,                    GRANTED
15   Apple, Dkt. 345   Dkt. 346-10                 Paragraph 51
                       Economides Expert Report,                    GRANTED
16   Apple, Dkt. 345   Dkt. 346-10                 Paragraph 56
                       Economides Expert Report,                    GRANTED
17   Apple, Dkt. 345   Dkt. 346-10                 Paragraph 58
                       Economides Expert Report,                    GRANTED
18   Apple, Dkt. 345   Dkt. 346-10                 Paragraph 63
                       Economides Expert Report,                    GRANTED
19   Apple, Dkt. 345   Dkt. 346-10                 Paragraph 72
                       Economides Expert Report,                    GRANTED
20   Apple, Dkt. 345   Dkt. 346-10                 Paragraph 73
                       Economides Expert Report,                    GRANTED
21   Apple, Dkt. 345   Dkt. 346-10                 Paragraph 74
                       Economides Expert Report,                    GRANTED
22   Apple, Dkt. 345   Dkt. 346-10                 Paragraph 75
                       Economides Expert Report,
23   Apple, Dkt. 345   Dkt. 346-10                 Paragraph 76     GRANTED
                                                                    GRANTED IN PART AND
24                                                                  DENIED IN PART The data from
                                                                    2019 and onward is sealed,
25                     Economides Expert Report,                    Everything else shall be
     Apple, Dkt. 345   Dkt. 346-10                 Table 1          unredacted.
26                     Economides Expert Report,
     Apple, Dkt. 345   Dkt. 346-10                 Table 2          GRANTED
27                                                                  GRANTED IN PART AND
                       Economides Expert Report,                    DENIED IN PART The data from
28   Apple, Dkt. 345   Dkt. 346-10                 Table 3          2019 and onward is sealed,


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 1     Requesting       Document Sought to be Description or Pages                   Grant or Deny
       Party and              Sealed                & Lines
 2      Sealing
        Request
 3                                                                          Everything else shall be
                                                                            unredacted.
 4                                                                          GRANTED IN PART AND
                                                                            DENIED IN PART The data from
 5                                                                          2019 and onward is sealed,
                       Economides Expert Report,                            Everything else shall be
 6   Apple, Dkt. 345   Dkt. 346-10                   Table 8                unredacted.
                       Economides Expert Report,                            GRANTED
 7   Apple, Dkt. 345   Dkt. 346-10                   Table 9
                       Elhauge Expert Report, Dkt.                          GRANTED
 8   Apple, Dkt. 345   346-9                         Figure 5
                       Elhauge Expert Report, Dkt.                          GRANTED
 9   Apple, Dkt. 345   346-9                         Figure 6
                       Elhauge Expert Report, Dkt.                          GRANTED
10   Apple, Dkt. 345   346-9                         Figure 7
                       Elhauge Expert Report, Dkt.                          GRANTED
11   Apple, Dkt. 345   346-9                         Footnote 223
                       Elhauge Expert Report, Dkt.                          GRANTED
12   Apple, Dkt. 345   346-9                         Footnote 227
                       Elhauge Expert Report, Dkt.
13   Apple, Dkt. 345   346-9                         Footnote 228           DENIED
                       Elhauge Expert Report, Dkt.                          GRANTED
14   Apple, Dkt. 345   346-9                         Footnote 304
15                     Elhauge Expert Report, Dkt.                          GRANTED
     Apple, Dkt. 345   346-9                         Footnote 324
16                     Elhauge Expert Report, Dkt.                          GRANTED
     Apple, Dkt. 345   346-9                         Footnote 389
17                     Elhauge Expert Report, Dkt.                          GRANTED
     Apple, Dkt. 345   346-9                       Footnote 390
18                                                 Footnote 392 (Apple
                                                   withdrew this request
19                                                 except maintained its
                                                   request as to the
20                                                 parentheticals following
                                                   APL-
21                                                 APPSTORE_09551602 GRANTED as to the
                       Elhauge Expert Report, Dkt. and APL-                 parentheticals identified in the
22   Apple, Dkt. 345   346-9                       EG_08958168.)            description.
                       Elhauge Expert Report, Dkt.                          GRANTED
23   Apple, Dkt. 345   346-9                       Footnote 404
                       Elhauge Expert Report, Dkt.                          GRANTED
24   Apple, Dkt. 345   346-9                       Footnote 409
                       Elhauge Expert Report, Dkt.                          GRANTED
25   Apple, Dkt. 345   346-9                       Footnote 428
                       Elhauge Expert Report, Dkt.
26   Apple, Dkt. 345   346-9                       Footnote 512             GRANTED
                       Elhauge Expert Report, Dkt.                          GRANTED
27   Apple, Dkt. 345   346-9                       Footnote 52
                       Elhauge Expert Report, Dkt.                          GRANTED
28   Apple, Dkt. 345   346-9                       Footnote 522


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 1     Requesting       Document Sought to be Description or Pages            Grant or Deny
       Party and              Sealed                & Lines
 2      Sealing
        Request
 3                     Elhauge Expert Report, Dkt.
     Apple, Dkt. 345   346-9                         Footnote 53     GRANTED
 4                     Elhauge Expert Report, Dkt.
     Apple, Dkt. 345   346-9                         Footnote 544    GRANTED
 5                     Elhauge Expert Report, Dkt.                   GRANTED
     Apple, Dkt. 345   346-9                         Footnote 548
 6                     Elhauge Expert Report, Dkt.                   GRANTED
     Apple, Dkt. 345   346-9                         Footnote 562
 7                     Elhauge Expert Report, Dkt.                   GRANTED
     Apple, Dkt. 345   346-9                         Footnote 568
 8                     Elhauge Expert Report, Dkt.
     Apple, Dkt. 345   346-9                         Footnote 596    DENIED
 9                     Elhauge Expert Report, Dkt.                   GRANTED
     Apple, Dkt. 345   346-9                         Footnote 599
10                     Elhauge Expert Report, Dkt.                   GRANTED
     Apple, Dkt. 345   346-9                         Footnote 70
11                     Elhauge Expert Report, Dkt.
     Apple, Dkt. 345   346-9                         Paragraph 121   GRANTED
12                     Elhauge Expert Report, Dkt.
     Apple, Dkt. 345   346-9                         Paragraph 141   GRANTED
13
                       Elhauge Expert Report, Dkt.
14   Apple, Dkt. 345   346-9                         Paragraph 181   DENIED
                       Elhauge Expert Report, Dkt.                   GRANTED
15   Apple, Dkt. 345   346-9                         Paragraph 182
                       Elhauge Expert Report, Dkt.                   GRANTED
16   Apple, Dkt. 345   346-9                         Paragraph 183
                       Elhauge Expert Report, Dkt.                   GRANTED
17   Apple, Dkt. 345   346-9                         Paragraph 184
                       Elhauge Expert Report, Dkt.
18   Apple, Dkt. 345   346-9                         Paragraph 185   DENIED
                       Elhauge Expert Report, Dkt.
19   Apple, Dkt. 345   346-9                         Paragraph 197   GRANTED
                       Elhauge Expert Report, Dkt.
20   Apple, Dkt. 345   346-9                         Paragraph 200   GRANTED
                       Elhauge Expert Report, Dkt.                   GRANTED
21   Apple, Dkt. 345   346-9                         Paragraph 202
                       Elhauge Expert Report, Dkt.                   GRANTED
22   Apple, Dkt. 345   346-9                         Paragraph 203
                       Elhauge Expert Report, Dkt.                   GRANTED
23   Apple, Dkt. 345   346-9                         Paragraph 204
                       Elhauge Expert Report, Dkt.
24   Apple, Dkt. 345   346-9                         Paragraph 214   GRANTED
                       Elhauge Expert Report, Dkt.
25   Apple, Dkt. 345   346-9                         Paragraph 223   GRANTED
                       Elhauge Expert Report, Dkt.
26   Apple, Dkt. 345   346-9                         Paragraph 227   GRANTED
                       Elhauge Expert Report, Dkt.
27   Apple, Dkt. 345   346-9                         Paragraph 228   GRANTED
                       Elhauge Expert Report, Dkt.                   GRANTED
28   Apple, Dkt. 345   346-9                         Paragraph 231


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 1     Requesting       Document Sought to be Description or Pages                Grant or Deny
       Party and              Sealed                & Lines
 2      Sealing
        Request
 3                     Elhauge Expert Report, Dkt.                        GRANTED
     Apple, Dkt. 345   346-9                         Paragraph 232
 4                     Elhauge Expert Report, Dkt.
     Apple, Dkt. 345   346-9                         Paragraph 234        GRANTED
 5                     Elhauge Expert Report, Dkt.                        GRANTED
     Apple, Dkt. 345   346-9                         Paragraph 242
 6                     Elhauge Expert Report, Dkt.                        GRANTED
     Apple, Dkt. 345   346-9                         Paragraph 274
 7                     Elhauge Expert Report, Dkt.                        GRANTED
     Apple, Dkt. 345   346-9                         Paragraph 275
 8                     Elhauge Expert Report, Dkt.                        GRANTED
     Apple, Dkt. 345   346-9                         Paragraph 284
 9                     Elhauge Expert Report, Dkt.                        GRANTED
     Apple, Dkt. 345   346-9                         Paragraph 305
10                     Elhauge Expert Report, Dkt.                        GRANTED
     Apple, Dkt. 345   346-9                       Paragraph 338
11                                                 Paragraph 343 (Apple
                                                   withdrew this request as
12                                                 to the number “59,420”
                                                   but maintained its
13                                                 sealing request as to the
                       Elhauge Expert Report, Dkt. earlier number in the     GRANTED with respect to the
14   Apple, Dkt. 345   346-9                       sentence.)                total number of developers
                       Elhauge Expert Report, Dkt.                           GRANTED
15   Apple, Dkt. 345   346-9                       Paragraph 344
16                     Elhauge Expert Report, Dkt.                           GRANTED
     Apple, Dkt. 345   346-9                       Paragraph 350
17                     Elhauge Expert Report, Dkt.                           GRANTED
     Apple, Dkt. 345   346-9                       Paragraph 359
18                     Elhauge Expert Report, Dkt.                           GRANTED
     Apple, Dkt. 345   346-9                       Paragraph 362
19                     Elhauge Expert Report, Dkt.                           GRANTED
     Apple, Dkt. 345   346-9                       Paragraph 363
20                     Elhauge Expert Report, Dkt.                           GRANTED
     Apple, Dkt. 345   346-9                       Paragraph 367
21                     Elhauge Expert Report, Dkt.                           GRANTED
     Apple, Dkt. 345   346-9                       Paragraph 368
22                     Elhauge Expert Report, Dkt.                           GRANTED
     Apple, Dkt. 345   346-9                       Paragraph 369
23                     Elhauge Expert Report, Dkt.                           GRANTED
     Apple, Dkt. 345   346-9                       Paragraph 370
24                     Elhauge Expert Report, Dkt.                           GRANTED
     Apple, Dkt. 345   346-9                       Paragraph 371
25                     Elhauge Expert Report, Dkt.                           GRANTED
     Apple, Dkt. 345   346-9                       Paragraph 374
26                     Elhauge Expert Report, Dkt.                           GRANTED
     Apple, Dkt. 345   346-9                       Paragraph 383
27                     Elhauge Expert Report, Dkt.
     Apple, Dkt. 345   346-9                       Paragraph 393              GRANTED
28                     Elhauge Expert Report, Dkt.
     Apple, Dkt. 345   346-9                       Paragraph 407             DENIED

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 1     Requesting       Document Sought to be Description or Pages                        Grant or Deny
       Party and              Sealed                & Lines
 2      Sealing
        Request
 3                     Elhauge Expert Report, Dkt.                               GRANTED
     Apple, Dkt. 345   346-9                         Paragraph 408
 4                     Elhauge Expert Report, Dkt.                               GRANTED
     Apple, Dkt. 345   346-9                         Paragraph 419
 5                     Elhauge Expert Report, Dkt.                               GRANTED
     Apple, Dkt. 345   346-9                         Paragraph 428
 6                     Elhauge Expert Report, Dkt.
     Apple, Dkt. 345   346-9                         Paragraph 74                GRANTED
 7                                                                               GRANTED IN PART AND
                                                                                 DENIED IN PART The data from
 8                                                                               2019 and onward is sealed,
                       Tregillis Expert Report                                   Everything else shall be
 9   Apple, Dkt. 345   Appendix, Dkt. 346-8          Schedule 1                  unredacted.
                       Tregillis Expert Report
10   Apple, Dkt. 345   Appendix, Dkt. 346-8          Schedule 2                  GRANTED
                                                                                 GRANTED IN PART AND
11                                                                               DENIED IN PART The data from
                                                                                 2019 and onward is sealed,
12                     Tregillis Expert Report                                   Everything else shall be
     Apple, Dkt. 345   Appendix, Dkt. 346-8          Schedule 3                  unredacted.
13                                                                               GRANTED IN PART AND
                                                                                 DENIED IN PART The data from
14                                                                               2019 and onward is sealed,
                       Tregillis Expert Report                                   Everything else shall be
15   Apple, Dkt. 345   Appendix, Dkt. 346-8          Schedule 4                  unredacted.
                                                                                 GRANTED IN PART AND
16                                                                               DENIED IN PART The data from
                                                                                 2019 and onward is sealed,
17                     Tregillis Expert Report                                   Everything else shall be
     Apple, Dkt. 345   Appendix, Dkt. 346-8          Schedule 5                  unredacted.
18                     Tregillis Expert Report
     Apple, Dkt. 345   Appendix, Dkt. 346-8          Schedule 6                  DENIED
19
                       Tregillis Expert Report, Dkt.
20   Apple, Dkt. 345   346-8                         Page 13                     GRANTED
                                                                                 GRANTED IN PART AND
21                                                                               DENIED IN PART The data in the
                                                                                 chart is sealed. Paragraph 34
22                     Tregillis Expert Report, Dkt.                             and footnote 32 shall be
     Apple, Dkt. 345   346-8                         Page 14                     unredacted.
23                                                   Page 15 (Apple
                                                     withdrew its request
24                                                   with respect to
                                                     paragraph 35 but            GRANTED IN PART AND
25                                                   maintained its request      DENIED IN PART. The data from
                                                     with respect to the other   2019 and onward is sealed.
26                     Tregillis Expert Report, Dkt. highlighted portions on     Everything else shall be
     Apple, Dkt. 345   346-8                         the page.)                  unredacted.
27                                                                               GRANTED IN PART AND
                                                                                 DENIED IN PART. The data from
28                     Tregillis Expert Report, Dkt.                             2019 onward in the charts is
     Apple, Dkt. 345   346-8                         Page 15-16                  sealed. The last sentence in

                                                       9
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 1     Requesting       Document Sought to be Description or Pages                    Grant or Deny
       Party and              Sealed                & Lines
 2      Sealing
        Request
 3                                                                        paragraph 37 is also to remain
                                                                          sealed. Everything else shall be
 4                                                                        unredacted.
                       Tregillis Expert Report, Dkt.
 5   Apple, Dkt. 345   346-8                         Page 16              GRANTED
                       Tregillis Expert Report, Dkt.
 6   Apple, Dkt. 345   346-8                         Page 17              GRANTED
                       Tregillis Expert Report, Dkt.
 7   Apple, Dkt. 345   346-8                         Page 18              GRANTED
                                                                          GRANTED IN PART AND
 8                                                                        DENIED IN PART. The data from
                                                                          2019 onward in the chart is
 9                                                                        sealed. The reference to the
                                                                          numbers in the second bullet
10                                                                        point is also sealed. Data from
                       Tregillis Expert Report, Dkt.                      2018 and prior shall be
11   Apple, Dkt. 345   346-8                         Page 20              unredacted.
                                                                          GRANTED IN PART AND
12                                                                        DENIED IN PART. The data from
                                                                          2019 onward in the chart is
13                     Tregillis Expert Report, Dkt.                      sealed. Data from 2018 and
     Apple, Dkt. 345   346-8                         Page 21              prior is unsealed.
14                                                                        GRANTED IN PART AND
                                                                          DENIED IN PART. The data from
15                                                                        2019 onward is sealed. Data
                       Tregillis Expert Report, Dkt.                      from 2018 and prior shall be
16   Apple, Dkt. 345   346-8                         Page 22              unredacted.
                                                     Page 22-23 (Apple
17                                                   withdrew this request
                                                     except maintained its
18                                                   request as to the final
                                                     sentence in the portion
19                     Tregillis Expert Report, Dkt. originally sought to be
     Apple, Dkt. 345   346-8                         sealed.)                DENIED
20                                                   Page 23 (Apple
                                                     withdrew this request
21                                                   except maintained its
                                                     request as to the final
22                                                   sentence in the portion
                       Tregillis Expert Report, Dkt. originally sought to be
23   Apple, Dkt. 345   346-8                         sealed.)                DENIED
                                                                          GRANTED IN PART AND
24                                                                        DENIED IN PART. The data from
                                                                          2019 onward is sealed. Data
25                     Tregillis Expert Report, Dkt.                      from 2018 and prior shall be
     Apple, Dkt. 345   346-8                         Page 24              unredacted.
26
                                                                          GRANTED IN PART AND
27                                                                        DENIED IN PART. The data
                                                                          from 2019 onward is sealed.
28                     Tregillis Expert Report, Dkt.                      Data from 2018 and prior shall
     Apple, Dkt. 345   346-8                         Page 25              be unredacted.

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 1     Requesting       Document Sought to be Description or Pages           Grant or Deny
       Party and              Sealed                & Lines
 2      Sealing
        Request
 3                     Tregillis Expert Report, Dkt.
     Apple, Dkt. 345   346-8                         Page 26         GRANTED
 4                                                                   GRANTED IN PART AND
                                                                     DENIED IN PART. The chart is
 5                                                                   sealed. Paragraphs 56, 57, 58,
                       Tregillis Expert Report, Dkt.                 and footnote 62 shall be
 6   Apple, Dkt. 345   346-8                         Page 27         unredacted.
                                                                     GRANTED IN PART AND
 7                                                                   DENIED IN PART. As stated
                                                                     above, paragraph 58 shall be
 8                                                                   unredacted. Paragraph 59 is
                                                                     sealed.
 9
                                                                     With respect to paragraph 60,
10                                                                   the first sentence is partially
                                                                     sealed. The words following the
11                                                                   second comma are to be sealed.
                                                                     Everything else in the first
12                                                                   sentence shall be unredacted.
                                                                     The second, third, and fourth
13                                                                   sentences shall be unredacted.
                                                                     The last sentence in paragraph
14                     Tregillis Expert Report, Dkt.                 60 is sealed.
     Apple, Dkt. 345   346-8                         Page 27-28
15                                                                   GRANTED IN PART AND
                                                                     DENIED IN PART. See above
16                     Tregillis Expert Report, Dkt.                 ruling with respect to
     Apple, Dkt. 345   346-8                         Page 28         paragraphs 58-60.
17                                                                   GRANTED IN PART AND
                                                                     DENIED IN PART. See above
18                                                                   ruling with respect to
                                                                     paragraphs 58-60.
19
                                                                     Paragraph 61 is sealed in its
20                                                                   entirety except for the first
                                                                     sentence which shall be
21                                                                   unredacted.
22                     Tregillis Expert Report, Dkt.                 The second sentence in
     Apple, Dkt. 345   346-8                         Page 28-29      paragraph 62 is sealed.
23                                                                   GRANTED IN PART AND
                                                                     DENIED IN PART. See above
24                     Tregillis Expert Report, Dkt.                 ruling with respect to
     Apple, Dkt. 345   346-8                         Page 29         paragraphs 60-62.
25                                                                   GRANTED IN PART AND
                                                                     DENIED IN PART. The chart and
26                                                                   paragraph 63 shall be
                       Tregillis Expert Report, Dkt.                 unredacted. Paragraph 64 is
27   Apple, Dkt. 345   346-8                         Page 30         sealed.
                       Tregillis Expert Report, Dkt.                 GRANTED IN PART AND
28   Apple, Dkt. 345   346-8                         Page 31         DENIED IN PART. The chart and

                                                     11
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 1     Requesting       Document Sought to be Description or Pages                       Grant or Deny
       Party and              Sealed                & Lines
 2      Sealing
        Request
 3                                                                               paragraph 65 shall be
                                                                                 unredacted. Paragraph 66 is
 4                                                                               sealed.
                                                                                 GRANTED IN PART AND
 5                                                                               DENIED IN PART. The chart and
                                                                                 paragraph 67 shall be
 6                                                                               unredacted. Paragraph 68 is
                                                                                 sealed. Paragraph 69 is partially
 7                                                                               sealed. The words following
                                                                                 “revenue” are sealed.
 8                     Tregillis Expert Report, Dkt.                             “Revenue” and the words before
     Apple, Dkt. 345   346-8                           Page 32                   it shall be unredacted.
 9                                                                               GRANTED IN PART AND
                                                                                 DENIED IN PART. Paragraph 70
10                                                                               is sealed in its entirety. The data
                                                                                 in the chart is partially sealed.
11                                                                               Data from 2018 shall be
                                                                                 unredacted; Data from 2019 is
12                                                                               sealed. Paragraph 71 shall be
                       Tregillis Expert Report, Dkt.                             unredacted except for the total
13   Apple, Dkt. 345   346-8                           Page 33                   relating to FY 2019.
                                                                                 GRANTED IN PART AND
14                                                                               DENIED IN PART. Paragraph 72
                                                                                 shall be unredacted. The data in
15                                                                               the chart is partially sealed.
                                                                                 Data from 2018 shall be
16                                                                               unredacted; Data from 2019 and
                       Tregillis Expert Report, Dkt.                             2020 is sealed. Paragraph 73
17   Apple, Dkt. 345   346-8                           Page 34                   shall be unredacted.
                                                                                 GRANTED IN PART AND
18                                                     Page 35 (Apple            DENIED IN PART. The third
                                                       withdrew this request as sentence in paragraph 74 is
19                                                     to the text that comes sealed. The first and fourth
                                                       after footnote 112 but sentences shall be unredacted.
20                                                     maintained its request as The entirety of the chart and
                       Tregillis Expert Report, Dkt.   to the other highlighted paragraph 75 shall be
21   Apple, Dkt. 345   346-8                           portions on the page.) unredacted.
                                                                                 GRANTED IN PART AND
22                                                                               DENIED IN PART. The email
                       Tregillis Expert Report, Dkt.                             addresses are sealed. Everything
23   Apple, Dkt. 345   346-8                           Page 36                   else shall be unredacted.
                                                                                 DENIED. See above ruling with
24                     Tregillis Expert Report, Dkt.                             respect to page 36. Page 37
     Apple, Dkt. 345   346-8                           Page 36-37                shall be unredacted.
25                     Tregillis Expert Report, Dkt.                             DENIED. See above ruling with
     Apple, Dkt. 345   346-8                           Page 37                   respect to page37.
26                     Economides Expert Report,
     Apple, Dkt. 351   Dkt. 352-1                    Paragraph 61               DENIED
27                     Economides Expert Report,
     Apple, Dkt. 351   Dkt. 352-1                    Table 7                    DENIED
28


                                                        12
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 1     Requesting        Document Sought to be Description or Pages                  Grant or Deny
       Party and               Sealed                & Lines
 2      Sealing
        Request
 3                      Economides Expert Report,
     Apple, Dkt. 351    Dkt. 352-1                  Table 9                 DENIED
 4                                                  Description of errata
                        Errata Regarding            related to page 31,
 5                      Economides Report, Dkt.     paragraph 61 of
     Apple, Dkt. 351    352-2                       Economides Report       DENIED
 6                      Economides Declaration in
                        Support of Motion for
 7                      Preliminary Approval of
     Apple, Dkt. 406    Settlement, Dkt. 407        Paragraph 10            DENIED
 8                      Economides Declaration in
                        Support of Motion for
 9                      Preliminary Approval of
     Apple, Dkt. 406    Settlement, Dkt. 407        Paragraph 16            GRANTED
10                      Economides Declaration in
                        Support of Motion for
11                      Preliminary Approval of
     Apple, Dkt. 406    Settlement, Dkt. 407        Paragraph 17            GRANTED
12                      Economides Declaration in
                        Support of Motion for
13                      Preliminary Approval of
     Apple, Dkt. 406    Settlement, Dkt. 407        Paragraph 19            GRANTED
14                      Economides Declaration in
                        Support of Motion for
15                      Preliminary Approval of
     Apple, Dkt. 406    Settlement, Dkt. 407        Paragraph 20            GRANTED
16                      Economides Declaration in
                        Support of Motion for
17                      Preliminary Approval of
     Apple, Dkt. 406    Settlement, Dkt. 407        Paragraph 9             GRANTED
18                                                                          GRANTED IN PART AND
                       Economides Declaration in                            DENIED IN PART. The data from
19                     Support of Motion for                                2019 onward is sealed. Data
                       Preliminary Approval of                              from 2018 and prior shall be
20   Apple, Dkt. 406   Settlement, Dkt. 407         Table 8                 unredacted.
                        Economides Declaration in                           DENIED
21                      Support of Motion for
                        Preliminary Approval of
22   Apple, Dkt. 406    Settlement, Dkt. 407        Table 9
23                      Apple’s Daubert Motion to                           GRANTED
                        Exclude Testimony of
                        Elhauge, Economides,
24
     Apple, Dkt. 436    Tregillis, Dkt. 381-4       13:15
25                      Apple’s Daubert Motion to                           GRANTED
                        Exclude Testimony of
26                      Elhauge, Economides,
     Apple, Dkt. 436    Tregillis, Dkt. 381-4       22:4
27                      Apple’s Daubert Motion to                           GRANTED
                        Exclude Testimony of
28                      Elhauge, Economides,
     Apple, Dkt. 436    Tregillis, Dkt. 381-4       3:20-21

                                                     13
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 1     Requesting       Document Sought to be Description or Pages                    Grant or Deny
       Party and              Sealed                & Lines
 2      Sealing
        Request
 3                     Apple’s Daubert Motion to                             GRANTED
                       Exclude Testimony of
 4                     Elhauge, Economides,
     Apple, Dkt. 436   Tregillis, Dkt. 381-4           8:10
 5                     Apple’s Opposition to
                       Developer Plaintiffs’ Motion
 6                     for Class Certification, Dkt.
     Apple, Dkt. 436   381-3                           17:15-16              GRANTED
 7                     Apple’s Opposition to                                 GRANTED
                       Developer Plaintiffs’ Motion
 8                     for Class Certification, Dkt.
     Apple, Dkt. 436   381-3                           17:26
 9                     Apple’s Opposition to                                 GRANTED
                       Developer Plaintiffs’ Motion
10                     for Class Certification, Dkt.
     Apple, Dkt. 436   381-3                           18:9
11                     Apple’s Opposition to                                 GRANTED
                       Developer Plaintiffs’ Motion
12                     for Class Certification, Dkt.
     Apple, Dkt. 436   381-3                           22:2
13                     Apple’s Opposition to                                 GRANTED
                       Developer Plaintiffs’ Motion
14                     for Class Certification, Dkt.
     Apple, Dkt. 436   381-3                           23:8
15                     Apple’s Opposition to                                 GRANTED
                       Developer Plaintiffs’ Motion
16                     for Class Certification, Dkt.
     Apple, Dkt. 436   381-3                           Footnote 2
17                     Apple’s Opposition to                                 GRANTED
                       Developer Plaintiffs’ Motion
18                     for Class Certification, Dkt.
     Apple, Dkt. 436   381-3                           Footnote 7
19                                                     114:5-115:3 (Apple        GRANTED
                                                       withdrew this request as
20                                                     to the number “76.6” but
                                                       maintained its request as
21                                                     to the two earlier
                       Economides Deposition           numbers in the
22   Apple, Dkt. 436   Transcript, Dkt. 436-4          sentence.)
                       Economides Deposition                                 GRANTED
23   Apple, Dkt. 436   Transcript, Dkt. 436-4          115:25
24                     Economides Deposition                                 GRANTED
     Apple, Dkt. 436   Transcript, Dkt. 436-4          116:2-3
25                                                     118:9-10 (Apple           GRANTED
                                                       withdrew this request as
26                                                     to the number “76.6” but
                                                       maintained its request as
27                     Economides Deposition           to the earlier number in
     Apple, Dkt. 436   Transcript, Dkt. 436-4          the sentence.)
28                     Economides Deposition                                 GRANTED
     Apple, Dkt. 436   Transcript, Dkt. 436-4          136:24-137:2

                                                        14
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 1     Requesting      Document Sought to be Description or Pages          Grant or Deny
       Party and             Sealed                & Lines
 2      Sealing
        Request
 3                     Economides Deposition                        GRANTED
     Apple, Dkt. 436   Transcript, Dkt. 436-4        137:24-25
 4                     Economides Deposition                        GRANTED
     Apple, Dkt. 436   Transcript, Dkt. 436-4        155:13-17
 5                     Economides Deposition                        GRANTED
     Apple, Dkt. 436   Transcript, Dkt. 436-4        155:21-156:3
 6                     Economides Deposition                        GRANTED
     Apple, Dkt. 436   Transcript, Dkt. 436-4        156:17-22
 7                                                                  GRANTED IN PART AND
                                                                    DENIED IN PART. 157:20-24 is
 8                     Economides Deposition                        sealed. The remainder of the
     Apple, Dkt. 436   Transcript, Dkt. 436-4        157:3-24       page shall be unredacted.
 9                     Economides Deposition                        GRANTED
     Apple, Dkt. 436   Transcript, Dkt. 436-4        162:8-11
10                     Economides Deposition                        GRANTED
     Apple, Dkt. 436   Transcript, Dkt. 436-4        216:1-217:5
11                     Economides Deposition                        GRANTED
     Apple, Dkt. 436   Transcript, Dkt. 436-4        220:9-10
12                     Economides Deposition                        GRANTED
     Apple, Dkt. 436   Transcript, Dkt. 436-4        230:13
13                     Economides Deposition                        GRANTED
     Apple, Dkt. 436   Transcript, Dkt. 436-4        230:19-21
14
                       Economides Deposition                        GRANTED
     Apple, Dkt. 436   Transcript, Dkt. 436-4        260:21
15
                       Economides Deposition
16   Apple, Dkt. 436   Transcript, Dkt. 436-4        97:19-98:13    GRANTED
                       Elhauge Deposition                           GRANTED
17   Apple, Dkt. 436   Transcript, Dkt. 436-8        209:24-210:1
                       Elhauge Deposition                           GRANTED
18   Apple, Dkt. 436   Transcript, Dkt. 436-8        210:7-8
                       Elhauge Deposition                           GRANTED
19   Apple, Dkt. 436   Transcript, Dkt. 436-8        285:22-23
                       Elhauge Deposition                           GRANTED
20   Apple, Dkt. 436   Transcript, Dkt. 436-8        287:24
                       Hitt Expert Report Appendix                  GRANTED
21   Apple, Dkt. 436   D, Dkt. 376-4                 Figure 11
                       Hitt Expert Report Appendix                  GRANTED
22   Apple, Dkt. 436   D, Dkt. 376-4                 Figure 15
                       Hitt Expert Report Appendix                  GRANTED
23   Apple, Dkt. 436   D, Dkt. 376-4                 Figure 18
                       Hitt Expert Report Appendix                  GRANTED
24   Apple, Dkt. 436   D, Dkt. 376-4                 Figure 24
                       Hitt Expert Report Appendix                  GRANTED
25   Apple, Dkt. 436   D, Dkt. 376-4                 Footnote 44
                       Hitt Expert Report Appendix                  GRANTED
26   Apple, Dkt. 436   D, Dkt. 376-4                 Footnote 78
                       Hitt Expert Report Appendix                  GRANTED
27   Apple, Dkt. 436   D, Dkt. 376-4                 Paragraph 29
                       Hitt Expert Report Appendix                  GRANTED
28   Apple, Dkt. 436   D, Dkt. 376-4                 Paragraph 49


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 1     Requesting      Document Sought to be Description or Pages                 Grant or Deny
       Party and             Sealed                & Lines
 2      Sealing
        Request
 3                     Hitt Expert Report Appendix                       GRANTED
     Apple, Dkt. 436   D, Dkt. 376-4                 Paragraph 68
 4                     Hitt Expert Report Appendix                       GRANTED
     Apple, Dkt. 436   D, Dkt. 376-4                 Paragraph 69
 5                     Hitt Expert Report Appendix                       GRANTED
     Apple, Dkt. 436   D, Dkt. 376-4                 Paragraph 76
 6                     Hitt Expert Report Appendix                       GRANTED
     Apple, Dkt. 436   D, Dkt. 376-4                 Paragraph 91
 7                     Hitt Expert Report Appendix                       GRANTED
     Apple, Dkt. 436   E, Dkt. 376-4                 Figure 1
 8                     Hitt Expert Report Appendix                       GRANTED
     Apple, Dkt. 436   E, Dkt. 376-4                 Figure 10
 9                     Hitt Expert Report Appendix                       GRANTED
     Apple, Dkt. 436   E, Dkt. 376-4                 Figure 2
10                     Hitt Expert Report Appendix                       GRANTED
     Apple, Dkt. 436   E, Dkt. 376-4                 Figure 3
11                     Hitt Expert Report Appendix                       GRANTED
     Apple, Dkt. 436   E, Dkt. 376-4                 Figure 4
12                     Hitt Expert Report Appendix                       GRANTED
     Apple, Dkt. 436   E, Dkt. 376-4                 Figure 5
13
                       Hitt Expert Report Appendix                       GRANTED
     Apple, Dkt. 436   E, Dkt. 376-4                 Figure 6
14
                       Hitt Expert Report Appendix                       GRANTED
15   Apple, Dkt. 436   E, Dkt. 376-4                 Figure 7
                       Hitt Expert Report Appendix                       GRANTED
16   Apple, Dkt. 436   E, Dkt. 376-4                 Figure 8
                       Hitt Expert Report Appendix                       GRANTED
17   Apple, Dkt. 436   E, Dkt. 376-4                 Figure 9
                       Hitt Expert Report Appendix                       GRANTED
18   Apple, Dkt. 436   E, Dkt. 376-4               Paragraph 15
                                                   Paragraph 17 (Apple       GRANTED
19                                                 withdrew this request as
                                                   to the number “9.7
20                                                 million” but maintained
                                                   its request as to the two
21                     Hitt Expert Report Appendix later numbers in the
     Apple, Dkt. 436   E, Dkt. 376-4               sentence.)
22                     Hitt Expert Report Appendix                           GRANTED
     Apple, Dkt. 436   E, Dkt. 376-4               Paragraph 5
23                     Hitt Expert Report Appendix                           GRANTED
     Apple, Dkt. 436   E, Dkt. 376-4               Paragraph 6
24                     Hitt Expert Report Appendix                           GRANTED
     Apple, Dkt. 436   F, Dkt. 376-4               Footnote 10
25                     Hitt Expert Report Appendix                           GRANTED
     Apple, Dkt. 436   F, Dkt. 376-4               Footnote 11
26                     Hitt Expert Report Appendix                           GRANTED
     Apple, Dkt. 436   F, Dkt. 376-4               Footnote 12
27                     Hitt Expert Report Appendix                           GRANTED
     Apple, Dkt. 436   F, Dkt. 376-4               Footnote 13
28                     Hitt Expert Report Appendix                           GRANTED
     Apple, Dkt. 436   F, Dkt. 376-4               Footnote 3

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 1     Requesting      Document Sought to be Description or Pages        Grant or Deny
       Party and             Sealed                & Lines
 2      Sealing
        Request
 3                     Hitt Expert Report Appendix                  GRANTED
     Apple, Dkt. 436   F, Dkt. 376-4                 Footnote 5
 4                     Hitt Expert Report Appendix                  GRANTED
     Apple, Dkt. 436   F, Dkt. 376-4                 Footnote 6
 5                     Hitt Expert Report Appendix                  GRANTED
     Apple, Dkt. 436   F, Dkt. 376-4                 Footnote 7
 6                     Hitt Expert Report Appendix                  GRANTED
     Apple, Dkt. 436   F, Dkt. 376-4                 Footnote 8
 7                     Hitt Expert Report Appendix                  GRANTED
     Apple, Dkt. 436   F, Dkt. 376-4                 Paragraph 10
 8                     Hitt Expert Report Appendix                  GRANTED
     Apple, Dkt. 436   F, Dkt. 376-4                 Paragraph 11
 9                     Hitt Expert Report Appendix                  GRANTED
     Apple, Dkt. 436   F, Dkt. 376-4                 Paragraph 12
10                     Hitt Expert Report Appendix                  GRANTED
     Apple, Dkt. 436   F, Dkt. 376-4                 Paragraph 2
11                     Hitt Expert Report Appendix                  GRANTED
     Apple, Dkt. 436   F, Dkt. 376-4                 Paragraph 4
12                     Hitt Expert Report Appendix                  GRANTED
     Apple, Dkt. 436   F, Dkt. 376-4                 Paragraph 5
13
                       Hitt Expert Report Appendix                  GRANTED
     Apple, Dkt. 436   F, Dkt. 376-4                 Paragraph 6
14
                       Hitt Expert Report Appendix                  GRANTED
15   Apple, Dkt. 436   F, Dkt. 376-4                 Paragraph 7
                       Hitt Expert Report Appendix                  GRANTED
16   Apple, Dkt. 436   F, Dkt. 376-4                 Paragraph 8
                       Hitt Expert Report Appendix                  GRANTED
17   Apple, Dkt. 436   F, Dkt. 376-4                 Paragraph 9
                       Hitt Expert Report Appendix                  GRANTED
18   Apple, Dkt. 436   G, Dkt. 376-4                 Footnote 2
                       Hitt Expert Report Appendix                  GRANTED
19   Apple, Dkt. 436   G, Dkt. 376-4                 Footnote 3
                       Hitt Expert Report Appendix                  GRANTED
20   Apple, Dkt. 436   G, Dkt. 376-4                 Footnote 4
                       Hitt Expert Report Appendix                  GRANTED
21   Apple, Dkt. 436   G, Dkt. 376-4                 Footnote 5
                       Hitt Expert Report Appendix                  GRANTED
22   Apple, Dkt. 436   G, Dkt. 376-4                 Footnote 6
                       Hitt Expert Report Appendix                  GRANTED
23   Apple, Dkt. 436   G, Dkt. 376-4                 Footnote 7
                       Hitt Expert Report Appendix                  GRANTED
24   Apple, Dkt. 436   G, Dkt. 376-4                 Footnote 8
                       Hitt Expert Report Appendix                  GRANTED
25   Apple, Dkt. 436   G, Dkt. 376-4                 Footnote 9
                       Hitt Expert Report Appendix                  GRANTED
26   Apple, Dkt. 436   G, Dkt. 376-4                 Paragraph 10
                       Hitt Expert Report Appendix                  GRANTED
27   Apple, Dkt. 436   G, Dkt. 376-4                 Paragraph 11
                       Hitt Expert Report Appendix                  GRANTED
28   Apple, Dkt. 436   G, Dkt. 376-4                 Paragraph 2


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 1     Requesting      Document Sought to be Description or Pages        Grant or Deny
       Party and             Sealed                & Lines
 2      Sealing
        Request
 3                     Hitt Expert Report Appendix                  GRANTED
     Apple, Dkt. 436   G, Dkt. 376-4                 Paragraph 3
 4                     Hitt Expert Report Appendix                  GRANTED
     Apple, Dkt. 436   G, Dkt. 376-4                 Paragraph 4
 5                     Hitt Expert Report Appendix                  GRANTED
     Apple, Dkt. 436   G, Dkt. 376-4                 Paragraph 5
 6                     Hitt Expert Report Appendix                  GRANTED
     Apple, Dkt. 436   G, Dkt. 376-4                 Paragraph 6
 7                     Hitt Expert Report Appendix                  GRANTED
     Apple, Dkt. 436   G, Dkt. 376-4                 Paragraph 7
 8                     Hitt Expert Report Appendix                  GRANTED
     Apple, Dkt. 436   G, Dkt. 376-4                 Paragraph 8
 9                     Hitt Expert Report Appendix                  GRANTED
     Apple, Dkt. 436   G, Dkt. 376-4                 Paragraph 9
10                     Hitt Expert Report, Dkt.                     GRANTED
     Apple, Dkt. 436   376-4                         Figure 1
11                     Hitt Expert Report, Dkt.                     GRANTED
     Apple, Dkt. 436   376-4                         Figure 10
12                     Hitt Expert Report, Dkt.                     GRANTED
     Apple, Dkt. 436   376-4                         Figure 11
13
                       Hitt Expert Report, Dkt.                     GRANTED
     Apple, Dkt. 436   376-4                         Figure 12
14
                       Hitt Expert Report, Dkt.                     GRANTED
15   Apple, Dkt. 436   376-4                         Figure 13
                       Hitt Expert Report, Dkt.                     GRANTED
16   Apple, Dkt. 436   376-4                         Figure 14
                       Hitt Expert Report, Dkt.                     GRANTED
17   Apple, Dkt. 436   376-4                         Figure 15
                       Hitt Expert Report, Dkt.                     GRANTED
18   Apple, Dkt. 436   376-4                         Figure 16
                       Hitt Expert Report, Dkt.                     GRANTED
19   Apple, Dkt. 436   376-4                         Figure 17
                       Hitt Expert Report, Dkt.                     GRANTED
20   Apple, Dkt. 436   376-4                         Figure 18
                       Hitt Expert Report, Dkt.                     GRANTED
21   Apple, Dkt. 436   376-4                         Figure 2
                       Hitt Expert Report, Dkt.                     GRANTED
22   Apple, Dkt. 436   376-4                         Figure 24
                       Hitt Expert Report, Dkt.                     GRANTED
23   Apple, Dkt. 436   376-4                         Figure 25
                       Hitt Expert Report, Dkt.                     GRANTED
24   Apple, Dkt. 436   376-4                         Figure 26
                       Hitt Expert Report, Dkt.                     GRANTED
25   Apple, Dkt. 436   376-4                         Figure 27
                       Hitt Expert Report, Dkt.                     GRANTED
26   Apple, Dkt. 436   376-4                         Figure 28
                       Hitt Expert Report, Dkt.                     GRANTED
27   Apple, Dkt. 436   376-4                         Figure 29
                       Hitt Expert Report, Dkt.                     GRANTED
28   Apple, Dkt. 436   376-4                         Figure 3


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 1     Requesting       Document Sought to be Description or Pages        Grant or Deny
       Party and              Sealed                & Lines
 2      Sealing
        Request
 3                     Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Figure 30
 4                     Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Figure 31
 5                     Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Figure 34
 6                     Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Figure 35
 7                     Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Figure 36
 8                     Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Figure 4
 9                     Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Figure 5
10                     Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Figure 6
11                     Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Figure 7
12                     Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Figure 8
13
                       Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Figure 9
14
                       Hitt Expert Report, Dkt.                      GRANTED
15   Apple, Dkt. 436   376-4                      Footnote 401
                       Hitt Expert Report, Dkt.                      GRANTED
16   Apple, Dkt. 436   376-4                      Footnote 406
                       Hitt Expert Report, Dkt.                      GRANTED
17   Apple, Dkt. 436   376-4                      Footnote 415
                       Hitt Expert Report, Dkt.                      GRANTED
18   Apple, Dkt. 436   376-4                      Paragraph 208
                       Hitt Expert Report, Dkt.                      GRANTED
19   Apple, Dkt. 436   376-4                      Paragraph 213
                       Hitt Expert Report, Dkt.                      GRANTED
20   Apple, Dkt. 436   376-4                      Paragraph 216
                       Hitt Expert Report, Dkt.                      GRANTED
21   Apple, Dkt. 436   376-4                      Paragraph 220
                       Hitt Expert Report, Dkt.                      GRANTED
22   Apple, Dkt. 436   376-4                      Paragraph 222
                       Hitt Expert Report, Dkt.                      GRANTED
23   Apple, Dkt. 436   376-4                      Paragraph 225
                       Hitt Expert Report, Dkt.                      GRANTED
24   Apple, Dkt. 436   376-4                      Paragraph 237
                       Hitt Expert Report, Dkt.                      GRANTED
25   Apple, Dkt. 436   376-4                      Paragraph 238
                       Hitt Expert Report, Dkt.                      GRANTED
26   Apple, Dkt. 436   376-4                      Paragraph 239
                       Hitt Expert Report, Dkt.                      GRANTED
27   Apple, Dkt. 436   376-4                      Paragraph 240
                       Hitt Expert Report, Dkt.                      GRANTED
28   Apple, Dkt. 436   376-4                      Paragraph 242


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 1     Requesting       Document Sought to be Description or Pages        Grant or Deny
       Party and              Sealed                & Lines
 2      Sealing
        Request
 3                     Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Paragraph 243
 4                     Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Paragraph 244
 5                     Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Paragraph 245
 6                     Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Paragraph 246
 7                     Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Paragraph 296
 8                     Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Paragraph 300
 9                     Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Paragraph 333
10                     Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Paragraph 370
11                     Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Paragraph 371
12                     Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Paragraph 386
13
                       Hitt Expert Report, Dkt.                      GRANTED
     Apple, Dkt. 436   376-4                      Paragraph 387
14
                       Hitt Expert Report, Dkt.                      GRANTED
15   Apple, Dkt. 436   376-4                      Paragraph 389
                       Hitt Expert Report, Dkt.                      GRANTED
16   Apple, Dkt. 436   376-4                      Paragraph 390
                       Hitt Expert Report, Dkt.                      GRANTED
17   Apple, Dkt. 436   376-4                      Paragraph 50
                       Hitt Expert Report, Dkt.                      GRANTED
18   Apple, Dkt. 436   376-4                      Paragraph 52
                       Hitt Expert Report, Dkt.                      GRANTED
19   Apple, Dkt. 436   376-4                      Paragraph 56
                       Hitt Expert Report, Dkt.                      GRANTED
20   Apple, Dkt. 436   376-4                      Paragraph 57
                       Hitt Expert Report, Dkt.                      GRANTED
21   Apple, Dkt. 436   376-4                      Paragraph 58
                       Hitt Expert Report, Dkt.                      GRANTED
22   Apple, Dkt. 436   376-4                      Paragraph 59
                       Hitt Expert Report, Dkt.                      GRANTED
23   Apple, Dkt. 436   376-4                      Paragraph 60
                       Hitt Expert Report, Dkt.                      GRANTED
24   Apple, Dkt. 436   376-4                      Paragraph 67
                       Hitt Expert Report, Dkt.                      GRANTED
25   Apple, Dkt. 436   376-4                      Paragraph 68
                       Hitt Expert Report, Dkt.                      GRANTED
26   Apple, Dkt. 436   376-4                      Paragraph 69
                       Hitt Expert Report, Dkt.                      GRANTED
27   Apple, Dkt. 436   376-4                      Paragraph 70
                       Hitt Expert Report, Dkt.                      GRANTED
28   Apple, Dkt. 436   376-4                      Paragraph 71


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 1     Requesting      Document Sought to be Description or Pages         Grant or Deny
       Party and             Sealed                & Lines
 2      Sealing
        Request
 3                     Hitt Expert Report, Dkt.                     GRANTED
     Apple, Dkt. 436   376-4                        Paragraph 72
 4                     Hitt Expert Report, Dkt.                     GRANTED
     Apple, Dkt. 436   376-4                        Paragraph 73
 5                     Hitt Expert Report, Dkt.                     GRANTED
     Apple, Dkt. 436   376-4                        Paragraph 74
 6                     Hitt Expert Report, Dkt.                     GRANTED
     Apple, Dkt. 436   376-4                        Paragraph 75
 7                     Hitt Expert Report, Dkt.                     GRANTED
     Apple, Dkt. 436   376-4                        Paragraph 76
 8                     Hitt Expert Report, Dkt.                     GRANTED
     Apple, Dkt. 436   376-4                        Paragraph 77
 9                     Hitt Expert Report, Dkt.                     GRANTED
     Apple, Dkt. 436   376-4                        Paragraph 94
10                     Hitt Expert Report, Dkt.                     GRANTED
     Apple, Dkt. 436   376-4                        Paragraph 96
11                     Malackowski Expert Report,                   GRANTED
     Apple, Dkt. 436   Dkt. 376-5                   Paragraph 110
12                     Malackowski Expert Report,                   GRANTED
     Apple, Dkt. 436   Dkt. 376-5                   Paragraph 168
13
                       Malackowski Expert Report,                   GRANTED
     Apple, Dkt. 436   Dkt. 376-5                   Paragraph 174
14
                       Malackowski Expert Report,                   GRANTED
15   Apple, Dkt. 436   Dkt. 376-5                   Paragraph 213
                       Malackowski Expert Report,                   GRANTED
16   Apple, Dkt. 436   Dkt. 376-5                   Paragraph 218
                       Prince Expert Report, Dkt.
17   Apple, Dkt. 436   376-6                        Exhibit 1       PENDING
                       Prince Expert Report, Dkt.                   PENDING
18   Apple, Dkt. 436   376-6                        Exhibit 11
                       Prince Expert Report, Dkt.                   PENDING
19   Apple, Dkt. 436   376-6                        Exhibit 12
                       Prince Expert Report, Dkt.                   PENDING
20   Apple, Dkt. 436   376-6                        Exhibit 2
                       Prince Expert Report, Dkt.                   PENDING
21   Apple, Dkt. 436   376-6                        Exhibit 3
                       Prince Expert Report, Dkt.                   PENDING
22   Apple, Dkt. 436   376-6                        Exhibit 4
                       Prince Expert Report, Dkt.                   PENDING
23   Apple, Dkt. 436   376-6                        Exhibit 5
                       Prince Expert Report, Dkt.                   PENDING
24   Apple, Dkt. 436   376-6                        Exhibit 6
                       Prince Expert Report, Dkt.                   PENDING
25   Apple, Dkt. 436   376-6                        Exhibit 7
                       Prince Expert Report, Dkt.                   GRANTED
26   Apple, Dkt. 436   376-6                        Footnote 14
                       Prince Expert Report, Dkt.
27   Apple, Dkt. 436   376-6                        Footnote 94     GRANTED
                       Prince Expert Report, Dkt.
28   Apple, Dkt. 436   376-6                        Paragraph 10    PENDING


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 1     Requesting       Document Sought to be Description or Pages            Grant or Deny
       Party and              Sealed                & Lines
 2      Sealing
        Request
 3                     Prince Expert Report, Dkt.                    PENDING
     Apple, Dkt. 436   376-6                        Paragraph 103
 4                     Prince Expert Report, Dkt.                    PENDING
     Apple, Dkt. 436   376-6                        Paragraph 105
 5                     Prince Expert Report, Dkt.                    GRANTED
     Apple, Dkt. 436   376-6                        Paragraph 107
 6                     Prince Expert Report, Dkt.                    GRANTED
     Apple, Dkt. 436   376-6                        Paragraph 108
 7                     Prince Expert Report, Dkt.                    GRANTED
     Apple, Dkt. 436   376-6                        Paragraph 109
 8                     Prince Expert Report, Dkt.                    GRANTED
     Apple, Dkt. 436   376-6                        Paragraph 111
 9                     Prince Expert Report, Dkt.                    GRANTED
     Apple, Dkt. 436   376-6                        Paragraph 116
10                     Prince Expert Report, Dkt.                    GRANTED
     Apple, Dkt. 436   376-6                        Paragraph 117
11                                                                   GRANTED IN PART AND
                                                                     DENIED IN PART. The
12                                                                   percentage of free apps is
                                                                     sealed. The number of uninjured
13                     Prince Expert Report, Dkt.                    class members shall be
     Apple, Dkt. 436   376-6                        Paragraph 12     unredacted.
14                     Prince Expert Report, Dkt.                    GRANTED
     Apple, Dkt. 436   376-6                        Paragraph 20
15
                       Prince Expert Report, Dkt.                    GRANTED
     Apple, Dkt. 436   376-6                        Paragraph 24
16
                       Prince Expert Report, Dkt.                    PENDING
17   Apple, Dkt. 436   376-6                        Paragraph 28
                       Prince Expert Report, Dkt.                    PENDING
18   Apple, Dkt. 436   376-6                        Paragraph 31
                       Prince Expert Report, Dkt.                    PENDING
19   Apple, Dkt. 436   376-6                        Paragraph 32
                       Prince Expert Report, Dkt.                    PENDING
20   Apple, Dkt. 436   376-6                        Paragraph 46
                       Prince Expert Report, Dkt.                    PENDING
21   Apple, Dkt. 436   376-6                        Paragraph 51
                       Prince Expert Report, Dkt.                    PENDING
22   Apple, Dkt. 436   376-6                        Paragraph 52
                       Prince Expert Report, Dkt.                    PENDING
23   Apple, Dkt. 436   376-6                        Paragraph 56
                       Prince Expert Report, Dkt.
24   Apple, Dkt. 436   376-6                        Paragraph 61     GRANTED
                       Prince Expert Report, Dkt.
25   Apple, Dkt. 436   376-6                        Paragraph 7      DENIED
                       Prince Expert Report, Dkt.
26   Apple, Dkt. 436   376-6                        Paragraph 71     GRANTED
                       Prince Expert Report, Dkt.
27   Apple, Dkt. 436   376-6                        Paragraph 80     DENIED
                       Prince Expert Report, Dkt.                    GRANTED
28   Apple, Dkt. 436   376-6                        Paragraph 84


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 1     Requesting      Document Sought to be Description or Pages            Grant or Deny
       Party and             Sealed                & Lines
 2      Sealing
        Request
 3                     Prince Expert Report, Dkt.                    GRANTED
     Apple, Dkt. 436   376-6                        Paragraph 87
 4                     Schmalensee Expert Report,                    GRANTED
     Apple, Dkt. 436   Dkt. 376-8                   Footnote 194
 5                     Schmalensee Expert Report,                    GRANTED
     Apple, Dkt. 436   Dkt. 376-8                   Footnote 393
 6                     Schmalensee Expert Report,                    GRANTED
     Apple, Dkt. 436   Dkt. 376-8                   Footnote 647
 7                     Schmalensee Expert Report,                    GRANTED
     Apple, Dkt. 436   Dkt. 376-8                   Footnote 652
 8                     Schmalensee Expert Report,
     Apple, Dkt. 436   Dkt. 376-8                   Footnote 658     GRANTED
 9                     Schmalensee Expert Report,
     Apple, Dkt. 436   Dkt. 376-8                   Paragraph 14     GRANTED
10                     Schmalensee Expert Report,
     Apple, Dkt. 436   Dkt. 376-8                   Paragraph 144    GRANTED
11                     Schmalensee Expert Report,
     Apple, Dkt. 436   Dkt. 376-8                   Paragraph 146    GRANTED
12                     Schmalensee Expert Report,
     Apple, Dkt. 436   Dkt. 376-8                   Paragraph 170    GRANTED
13
                       Schmalensee Expert Report,
14   Apple, Dkt. 436   Dkt. 376-8                   Paragraph 210    GRANTED
                       Schmalensee Expert Report,
15   Apple, Dkt. 436   Dkt. 376-8                   Paragraph 213    GRANTED
                       Schmalensee Expert Report,                    N/A REPORT ENDS AT
     Apple, Dkt. 436   Dkt. 376-8                 Paragraph 286      PARAGRAPH 229
16
                                                  Paragraph 301 (Apple
17                                                withdrew this request
                                                  except that it maintained
18                                                the request as to the
                       Schmalensee Expert Report, sentence immediately N/A REPORT ENDS AT
19   Apple, Dkt. 436   Dkt. 376-8                 preceding footnote 661.) PARAGRAPH 229
                       Schmalensee Expert Report,
20   Apple, Dkt. 436   Dkt. 376-8                 Paragraph 37              GRANTED
                       Schmid Deposition                                    GRANTED
21                     Transcript, Dkt. 375-14,
     Apple, Dkt. 436   377-9                      11:22-23
22                     Willig Expert Report, Dkt.                           GRANTED
     Apple, Dkt. 436   376-10                     Footnote 124
23                     Willig Expert Report, Dkt.                           GRANTED
     Apple, Dkt. 436   376-10                     Footnote 184
24                     Willig Expert Report, Dkt.                           GRANTED
     Apple, Dkt. 436   376-10                     Paragraph 130
25                     Willig Expert Report, Dkt.
     Apple, Dkt. 436   376-10                     Paragraph 141             GRANTED
26                     Economides Expert Report,
     Epic, Dkt. 347    Dkt. 347-1                 Page 15                   GRANTED
27                     Economides Expert Report,
     Epic, Dkt. 347    Dkt. 347-1                 Page 22                   GRANTED
28                     Economides Expert Report,
     Epic, Dkt. 347    Dkt. 347-1                 Page 26                   GRANTED

                                                     23
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 1     Requesting     Document Sought to be Description or Pages               Grant or Deny
       Party and            Sealed                & Lines
 2      Sealing
        Request
 3                    Elhauge Expert Report, Dkt.                         GRANTED
     Epic, Dkt. 347   347-1                        Page 76
 4                    Elhauge Expert Report, Dkt.                         GRANTED
     Epic, Dkt. 347   347-1                        Page 111
 5                    Elhauge Expert Report, Dkt.                         GRANTED
     Epic, Dkt. 347   347-1                        Page 196
 6                                                 The same portions of   GRANTED
                                                   this document that the
 7                    EPIC_00127298, Dkt. 375- Court has already sealed
     Epic, Dkt. 417   25, 377-15, 417-1            in Epic v. Apple
 8                    Economides Deposition                               GRANTED
                      Transcript, Dkt. 418-4, 375-
 9   Epic, Dkt. 418   6, 377-3, 436-4              168:18
                      Economides Deposition                               GRANTED
10                    Transcript, Dkt. 418-4, 375-
     Epic, Dkt. 418   6, 377-3, 436-4              169:3
11                    Economides Deposition                               GRANTED
                      Transcript, Dkt. 418-4, 375-
12   Epic, Dkt. 418   6, 377-3, 436-4              170:21-22
                      Economides Deposition                               GRANTED
13                    Transcript, Dkt. 418-4, 375-
     Epic, Dkt. 418   6, 377-3, 436-4              171:6-7
14                    Economides Deposition                               GRANTED
                      Transcript, Dkt. 418-4, 375-
15   Epic, Dkt. 418   6, 377-3, 436-4              171:12-13
                      Economides Deposition                               GRANTED
16                    Transcript, Dkt. 418-4, 375-
     Epic, Dkt. 418   6, 377-3, 436-4              172:13-14
17
                      Economides Deposition                               GRANTED
                      Transcript, Dkt. 418-4, 375-
18
     Epic, Dkt. 418   6, 377-3, 436-4              173:11
19                    Economides Deposition                               GRANTED
                      Transcript, Dkt. 418-4, 375-
20   Epic, Dkt. 418   6, 377-3, 436-4              173:16
                      Economides Deposition                               GRANTED
21                    Transcript, Dkt. 418-4, 375-
     Epic, Dkt. 418   6, 377-3, 436-4              173:18
22                    Economides Deposition                               GRANTED
                      Transcript, Dkt. 418-4, 375-
23   Epic, Dkt. 418   6, 377-3, 436-4              173:25
                      Economides Deposition                               GRANTED
24                    Transcript, Dkt. 418-4, 375-
     Epic, Dkt. 418   6, 377-3, 436-4              174:10
25                    Economides Deposition                               GRANTED
                      Transcript, Dkt. 418-4, 375-
26   Epic, Dkt. 418   6, 377-3, 436-4              174:13-14
                      Economides Deposition                               GRANTED
27                    Transcript, Dkt. 418-4, 375-
     Epic, Dkt. 418   6, 377-3, 436-4              175:14-15
28


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 1     Requesting      Document Sought to be Description or Pages         Grant or Deny
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 2      Sealing
        Request
 3                    Economides Deposition                          GRANTED
                      Transcript, Dkt. 418-4, 375-
 4   Epic, Dkt. 418   6, 377-3, 436-4                176:3
                      Economides Deposition                          GRANTED
 5                    Transcript, Dkt. 418-4, 375-
     Epic, Dkt. 418   6, 377-3, 436-4                176:9-11
 6                    Economides Deposition                          GRANTED
                      Transcript, Dkt. 418-4, 375-
 7   Epic, Dkt. 418   6, 377-3, 436-4                176:13
                      Economides Deposition                          GRANTED
 8                    Transcript, Dkt. 418-4, 375-
     Epic, Dkt. 418   6, 377-3, 436-4                177:2-3
 9                    Economides Deposition                          GRANTED
                      Transcript, Dkt. 418-4, 375-
10   Epic, Dkt. 418   6, 377-3, 436-4                199:22
                      Economides Deposition                          GRANTED
11                    Transcript, Dkt. 418-4, 375-
     Epic, Dkt. 418   6, 377-3, 436-4                213:11
12                    Economides Deposition                          GRANTED
                      Transcript, Dkt. 418-4, 375-
13   Epic, Dkt. 418   6, 377-3, 436-4                213:18
                      Economides Deposition                          GRANTED
14                    Transcript, Dkt. 418-4, 375-
     Epic, Dkt. 418   6, 377-3, 436-4                213:24
15                    Economides Deposition                          GRANTED
                      Transcript, Dkt. 418-4, 375-
16   Epic, Dkt. 418   6, 377-3, 436-4                214:10-12
                      Hitt Expert Report, Dkt.                       GRANTED
17   Epic, Dkt. 418   418-2, 376-4                   Figure 22
18                    Hitt Expert Report, Dkt.                       GRANTED
     Epic, Dkt. 418   418-2, 376-4                   Footnote 115
19                    Hitt Expert Report, Dkt.                       GRANTED
     Epic, Dkt. 418   418-2, 376-4                   Footnote 241
20                    Hitt Expert Report, Dkt.                       GRANTED
     Epic, Dkt. 418   418-2, 376-4                   Footnote 492
21                    Hitt Expert Report, Dkt.                       GRANTED
     Epic, Dkt. 418   418-2, 376-4                   Footnote 610
22                    Hitt Expert Report, Dkt.                       GRANTED
     Epic, Dkt. 418   418-2, 376-4                   Paragraph 127
23                    Hitt Expert Report, Dkt.                       GRANTED
     Epic, Dkt. 418   418-2, 376-4                   Paragraph 158
24                    Hitt Expert Report, Dkt.                       GRANTED
     Epic, Dkt. 418   418-2, 376-4                   Paragraph 190
25                    Hitt Expert Report, Dkt.                       GRANTED
     Epic, Dkt. 418   418-2, 376-4                   Paragraph 296
26                    Hitt Expert Report, Dkt.                       GRANTED
     Epic, Dkt. 418   418-2, 376-4                   Paragraph 376
27                    Hitt Expert Report, Dkt.                       GRANTED
     Epic, Dkt. 418   418-2, 376-4                   Paragraph 383
28


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       Party and               Sealed                & Lines
 2      Sealing
        Request
 3                      Schmalensee Expert Report                         GRANTED
                        Appendix D, Dkt. 418-1,
 4   Epic, Dkt. 418     376-8                        Footnote 500
                        Schmalensee Expert Report                         GRANTED
 5                      Appendix D, Dkt. 418-1,
     Epic, Dkt. 418     376-8                        Footnote 627
 6                      Schmalensee Expert Report                         GRANTED
                        Appendix D, Dkt. 418-1,
 7   Epic, Dkt. 418     376-8                        Paragraph 257
                                                     Exhibit 5, Note 4,   GRANTED
 8                      Schmalensee Expert Report, information in the
     Epic, Dkt. 418     Dkt. 418-1, 376-8            parenthesis
 9                      Schmalensee Expert Report,                        GRANTED
     Epic, Dkt. 418     Dkt. 418-1, 376-8            Footnote 117
10                      Schmalensee Expert Report,                        GRANTED
     Epic, Dkt. 418     Dkt. 418-1, 376-8            Footnote 230
11                      Schmalensee Expert Report,                        GRANTED
     Epic, Dkt. 418     Dkt. 418-1, 376-8            Footnote 265
12                      Schmalensee Expert Report,                        GRANTED
     Epic, Dkt. 418     Dkt. 418-1, 376-8            Paragraph 142
13                      Sweeney Deposition                                GRANTED
                        Transcript, Dkt. 418-3, 375-
14   Epic, Dkt. 418     18, 377-12                   100:16-17
                        Sweeney Deposition                                GRANTED
15                      Transcript, Dkt. 418-3, 375-
     Epic, Dkt. 418     18, 377-12                   100:24-25
16
                        Economides Expert Report,                         GRANTED
     Google, Dkt. 337   Dkt. 337-2                   Page 18
17
                        Elhauge Expert Report, Dkt.                       GRANTED
18   Google, Dkt. 337   337-1                        Page 103, Figure 5
                        Elhauge Expert Report, Dkt.                       GRANTED
19   Google, Dkt. 337   337-1                        Page 112, Figure 6
                        Elhauge Expert Report, Dkt.                       GRANTED
20   Google, Dkt. 337   337-1                        Page 224
                        Elhauge Expert Report, Dkt.                       GRANTED
21   Google, Dkt. 337   337-1                        Pages 121-122
                        Elhauge Expert Report, Dkt.                       GRANTED
22   Google, Dkt. 337   337-1                        Pages 175, 197
                        Elhauge Expert Report, Dkt.                       GRANTED
23   Google, Dkt. 337   337-1                        Pages 214, 235
                        Elhauge Expert Report, Dkt.                       GRANTED
24   Google, Dkt. 337   337-1                        Pages 227-229
                        Hitt Expert Report Appendix                       GRANTED
25   Google, Dkt. 421   D, Dkt. 421-2                Footnote 26
                        Hitt Expert Report, Dkt.                          GRANTED
26   Google, Dkt. 421   421-2                        Footnote 133
                        Hitt Expert Report, Dkt.                          GRANTED
27   Google, Dkt. 421   421-2                        Footnote 382
                        Hitt Expert Report, Dkt.                          GRANTED
28   Google, Dkt. 421   421-2                        Paragraph 83


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       Party and               Sealed                & Lines
 2      Sealing
        Request
 3                      Hitt Expert Report, Dkt.                                 GRANTED
     Google, Dkt. 421   421-2                           Paragraph 85
 4                      Rubin Expert Report, Dkt.                                GRANTED
     Google, Dkt. 421   421-4                           Paragraph 103
 5                      Schmalensee Expert Report,                               GRANTED
     Google, Dkt. 421   Dkt. 421-3                      Footnote 261
 6                      Schmalensee Expert Report,                               GRANTED
     Google, Dkt. 421   Dkt. 421-3                      Footnote 262
 7                      Schmalensee Expert Report,                               GRANTED
     Google, Dkt. 421   Dkt. 421-3                      Footnote 263
 8                      Schmalensee Expert Report,                               GRANTED
     Google, Dkt. 421   Dkt. 421-3                      Footnote 264
 9                      Schmalensee Expert Report,                               GRANTED
     Google, Dkt. 421   Dkt. 421-3                      Paragraph 159
10   Match, Dkt. 509                                                             GRANTED
     (on the docket of
11   Case No. 4:11-cv- Hitt Expert Report, Dkt.         Figure 9 on page 38 in
     6714)             376-4                            its entirety
12                                                                               GRANTED
                                                        Paragraph 66 from the
13                                                      sentence beginning,
                                                        “For example, data
14   Match, Dkt. 509                                    produced in this matter
     (on the docket of                                  from the Match
15   Case No. 4:11-cv- Hitt Expert Report, Dkt.         Group…” until the end
     6714)             376-4                            of the paragraph
16                                                      Portions of Developer GRANTED
                                                        Plaintiffs’ Motion for
17                                                      Class Certification that
     Microsoft, Dkt.    Class Certification Motion,     aggregate Microsoft’s
18   342                Dkt. 332                        confidential information
19   Microsoft, Dkt.    Economides Expert Report,                                GRANTED
     342                Dkt. 343-1                      Page 12
20   Microsoft, Dkt.    Economides Expert Report,                                GRANTED
     342                Dkt. 343-1                      Page 13
21                      Apple’s Opposition to                                    GRANTED
                        Developer Plaintiffs’ Motion
22   Microsoft, Dkt.    for Class Certification, Dkt.
     416                381-3                           20:26
23                      Apple’s Opposition to                                    GRANTED
                        Developer Plaintiffs’ Motion
24   Microsoft, Dkt.    for Class Certification, Dkt.
     416                381-3                           21:7
25   Microsoft, Dkt.    Hitt Expert Report Appendix                              GRANTED
     416                D, Dkt. 376-4                   Page 5
26   Microsoft, Dkt.    Hitt Expert Report, Dkt.        Footnote 185 (first     GRANTED
     416                376-4                           sentence)
27   Microsoft, Dkt.    Hitt Expert Report, Dkt.        Footnote 247 (reference GRANTED
     416                376-4                           to internal code name)
28   Microsoft, Dkt.    Hitt Expert Report, Dkt.        Footnote 397 (third and GRANTED
     416                376-4                           sixth sentence)

                                                         27
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 1     Requesting        Document Sought to be Description or Pages                    Grant or Deny
       Party and               Sealed                & Lines
 2      Sealing
        Request
 3   Microsoft, Dkt.    Hitt Expert Report, Dkt.       Paragraph 106 (third       GRANTED
     416                376-4                          sentence)
 4   Microsoft, Dkt.    Hitt Expert Report, Dkt.                                  GRANTED
     416                376-4                          Paragraph 126
 5   Microsoft, Dkt.    Hitt Expert Report, Dkt.       Paragraph 128 (first       GRANTED
     416                376-4                          sentence)
 6   Microsoft, Dkt.    Hitt Expert Report, Dkt.                                  GRANTED
     416                376-4                          Paragraph 387
 7   Microsoft, Dkt.    Hitt Expert Report, Dkt.                                  GRANTED
     416                376-4                          Paragraph 99
 8   Microsoft, Dkt.    Prince Expert Report, Dkt.     Footnote 102 (second       GRANTED
     416                376-6                          sentence)
 9   Microsoft, Dkt.    Willig Expert Report, Dkt.                                GRANTED
     416                376-10                         Paragraph 121
10                      Economides Deposition                                     GRANTED
     Nintendo, Dkt.     Transcript, Dkt. 377-3, 436-
11   414                4                              155:6-7
                        Economides Deposition                                     GRANTED
12   Nintendo, Dkt.     Transcript, Dkt. 377-3, 436-
     414                4                              156:25-157:2
13   Nintendo, Dkt.     Sweeney Deposition                                        GRANTED
     414                Transcript, Dkt. 377-12        100:8-14
14
                        Hitt Expert Report, Dkt.                                  GRANTED
                        376-4, attachments to Dkt.
15
     Playtika, Dkt. 404 405                            Footnote 512
16                      Hitt Expert Report, Dkt.                                  GRANTED
                        376-4, attachments to Dkt.     Paragraph 308 (third and
17   Playtika, Dkt. 404 405                            fourth sentence)
                                                       Exhibit 10, which is      GRANTED
18                                                     located at paragraph
                                                       101, on page 45, of the
19                                                     Prince Expert Report
                        Prince Expert Report, Dkt.     (the entire graph and the
20                      376-6, attachments to Dkt.     “Note” underneath the
     Playtika, Dkt. 404 405                            graph)
21                      Prince Expert Report, Dkt.                                GRANTED
                        376-6, attachments to Dkt.     Paragraph 101 (last
22   Playtika, Dkt. 404 405                            sentence)
     Pocket Gems,                                                                 GRANTED
23   Dkt. 510 (on the
     docket of Case     Hitt Expert Report, Dkt.
24   No. 4:11-cv-       511-1 (on the docket of Case
     6714)              No. 4:11-cv-6714), 376-4       Page 147, ¶ 296, Line 12
25   Pocket Gems,                                                                 GRANTED
     Dkt. 510 (on the
26   docket of Case     Hitt Expert Report, Dkt.
     No. 4:11-cv-       511-1 (on the docket of Case   Page 147, ¶ 296, Lines
27   6714)              No. 4:11-cv-6714), 376-4       16 and 18
     Roblox, Dkt. 517 Hitt Expert Report, Dkt.         Paragraph 9 of         GRANTED
28   (on the docket of 376-4                           Appendix D


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 1     Requesting       Document Sought to be Description or Pages                    Grant or Deny
       Party and              Sealed                & Lines
 2      Sealing
        Request
 3   Case No. 4:11-cv-
     6714)
 4   Roblox, Dkt. 517                                                            GRANTED
     (on the docket of Prince Expert Report, Dkt.
 5   Case No. 4:11-cv- 376-6, 478-3 (on the docket
     6714)             of Case No. 4:11-cv-6714)     Exhibit 8
 6                                                   Footnote 279 (entirety      GRANTED
     Samsung, Dkt.     Elhauge Expert Report, Dkt.   of the references to
 7   348               331-6                         Samsung)
                                                     Footnote 572 (entirety      GRANTED
 8   Samsung, Dkt.     Elhauge Expert Report, Dkt.   of the references to
     348               331-6                         Samsung)
 9                                                   Paragraph 212 (entirety     GRANTED
     Samsung, Dkt.     Elhauge Expert Report, Dkt.   of the references to
10   348               331-6                         Samsung)
                                                     Paragraph 384 (entirety     GRANTED
11   Samsung, Dkt.     Elhauge Expert Report, Dkt.   of the references to
     348               331-6                         Samsung)
12                                                   Lines 4-5 of paragraph      GRANTED
                                                     202 (starting with
13                                                   “While” and ending
                                                     with “contracts”) and
14                                                   lines 6-7 of paragraph
                                                     203 (starting with “as
15                                                   developers” and ending
                                                     with “Galaxy Store”)
16                                                   which appear on pages
     Samsung, Dkt.     Hitt Expert Report, Dkt.      104 and 105 of the
17   389               376-4                         report
                                                     The last line of            GRANTED
18                                                   paragraph 87 (which
                                                     appears on page 55 of
19                                                   the report) starting with
     Samsung, Dkt.     Hitt Expert Report, Dkt.      “Samsung” and ending
20   389               376-4                         with “Games”
     Samsung, Dkt.     Schmalensee Expert Report,                           GRANTED
21   403               Dkt. 376-8                 Footnote 627
                                                  Footnote 205              GRANTED
22                     Hitt Expert Report, Dkt.   (parenthetical with
     Sony, Dkt. 420    376-4                      testimony only)
23
                       Hitt Expert Report, Dkt.   Paragraph 104 (last       GRANTED
     Sony, Dkt. 420    376-4                      sentence only)
24
                                                  Exhibit 5, Source 4 on GRANTED
25                                                page 27 of the report’s
                                                  exhibits, page 149 of the
26                     Schmalensee Expert Report, PDF (parenthetical with
     Sony, Dkt. 420    Dkt. 376-8                 formula only)
27                     Sweeney Deposition                                   GRANTED
                       Transcript, Dkt. 375-18,
28   Sony, Dkt. 420    377-12                     96:2-19


                                                      29
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 1     Requesting         Document Sought to be Description or Pages                    Grant or Deny
       Party and                Sealed                & Lines
 2      Sealing
        Request
 3                                                    Page 14, the words           GRANTED
                                                      directly after “. . . which
 4                                                    distributes
                                                      predominantly in the
 5                                                    Chinese market . . .” in
                                                      line 17 and ending
 6                       Apple’s Daubert Motion to before the words “. . .
                         Exclude Testimony of         which differ
 7                       Elhauge, Economides,         significantly . . .” in line
     Tencent, Dkt. 415   Tregillis, Dkt. 381-4, 374   18
 8                                                    Page 3, the word             GRANTED
                                                      directly after “. . .
 9                                                    uniform average of . . .”
                         Apple’s Daubert Motion to in line 23 and the words
10                       Exclude Testimony of         directly after “. . . an
                         Elhauge, Economides,         artificial rate more than .
11   Tencent, Dkt. 415   Tregillis, Dkt. 381-4, 374   . .” in line 23
                                                      Page 3, the words            GRANTED
12                                                    directly following “. . .
                                                      which charged
13                                                    commission rates
                                                      between. . .” in lines 16
14                                                    and 17 of page 3 as well
                         Apple’s Daubert Motion to as the word directly
15                       Exclude Testimony of         following “. . . which he
                         Elhauge, Economides,         calculates to be . . .” in
16   Tencent, Dkt. 415   Tregillis, Dkt. 381-4, 374   line 19 of page 3
                         Economides Deposition        Vol. II, Page 188, the GRANTED
17                       Transcript, Dkt. 377-3, 436- word directly before
     Tencent, Dkt. 415   4                            “. . . percent” in line 15
18                                                    Figure 22, the seventh GRANTED
                         Hitt Expert Report, Dkt.     row beginning with
19   Tencent, Dkt. 415   376-4                        “WeGame (Tencent)”
                                                      Paragraph 159, the           GRANTED
20                                                    words directly following
                                                      “. . . to increase from. .
21                       Hitt Expert Report, Dkt.     .” in line 8 of the
     Tencent, Dkt. 415   376-4                        paragraph
22                                                    Paragraph 390, the           GRANTED
                                                      words directly following
23                                                    “. . . effective
                                                      commission rate using
24                                                    his yardstick
                                                      commission rate method
25                                                    from. . .” in line 11 of
                                                      the paragraph and the
26                                                    words following “. . .
                                                      using his yardstick
27                                                    commission rate method
                         Hitt Expert Report, Dkt.     of a range of . . .” in line
28   Tencent, Dkt. 415   376-4                        12 of the paragraph


                                                        30
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 1     Requesting       Document Sought to be Description or Pages                    Grant or Deny
       Party and              Sealed                & Lines
 2      Sealing
        Request
 3                     Economides Expert Report,                             GRANTED
     Valve, Dkt. 338   Dkt. 331-5, 332-1               Page 23
 4                     Economides Expert Report,                             GRANTED
     Valve, Dkt. 338   Dkt. 331-5, 332-1               Table 4 (page 22)
 5                     Apple’s Daubert Motion to                             GRANTED
                       Exclude Testimony of
 6                     Elhauge, Economides,
     Valve, Dkt. 402   Tregillis, Dkt. 381-4, 374      14:14-16
 7                     Apple’s Daubert Motion to                             GRANTED
                       Exclude Testimony of
 8                     Elhauge, Economides,
     Valve, Dkt. 402   Tregillis, Dkt. 381-4, 374      16:20
 9                     Apple’s Daubert Motion to                             GRANTED
                       Exclude Testimony of
10                     Elhauge, Economides,
     Valve, Dkt. 402   Tregillis, Dkt. 381-4, 374      19:14
11                     Apple’s Daubert Motion to                             GRANTED
                       Exclude Testimony of
12                     Elhauge, Economides,
     Valve, Dkt. 402   Tregillis, Dkt. 381-4, 374      3:24
13                     Apple’s Daubert Motion to                             GRANTED
                       Exclude Testimony of
14                     Elhauge, Economides,
     Valve, Dkt. 402   Tregillis, Dkt. 381-4, 374      8:9
15                     Apple’s Daubert Motion to                             GRANTED
                       Exclude Testimony of
16                     Elhauge, Economides,
     Valve, Dkt. 402   Tregillis, Dkt. 381-4, 374      Footnote 4
17                     Apple’s Daubert Motion to                             GRANTED
                       Exclude Testimony of
18                     Elhauge, Economides,
     Valve, Dkt. 402   Tregillis, Dkt. 381-4, 374      Footnote 6
19                     Apple’s Opposition to                                 GRANTED
                       Developer Plaintiffs’ Motion
20                     for Class Certification, Dkt.
     Valve, Dkt. 402   381-3, 379                      15:8-9
21
                       Apple’s Opposition to                                 GRANTED
                       Developer Plaintiffs’ Motion
22
                       for Class Certification, Dkt.
     Valve, Dkt. 402   381-3, 379                      21:10-13
23
                       Hitt Expert Report, Dkt.                              GRANTED
24   Valve, Dkt. 402   376-4, 373-1                    ¶ 126, the third sentence
                       Hitt Expert Report, Dkt.        ¶ 162, the fourth         GRANTED
25   Valve, Dkt. 402   376-4, 373-1                    sentence
                       Hitt Expert Report, Dkt.        ¶ 381, the first, sixth,  GRANTED
26   Valve, Dkt. 402   376-4, 373-1                    and seventh sentences
                       Hitt Expert Report, Dkt.        ¶ 91, the third sentence GRANTED
27   Valve, Dkt. 402   376-4, 373-1                    (page 57)
                       Hitt Expert Report, Dkt.        ¶ 92, the last sentence GRANTED
28   Valve, Dkt. 402   376-4, 373-1                    (page 58)


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 1       Requesting       Document Sought to be Description or Pages                   Grant or Deny
         Party and              Sealed                & Lines
 2        Sealing
          Request
 3                       Hitt Expert Report, Dkt.                                 GRANTED
      Valve, Dkt. 402    376-4, 373-1                 Figure 22 and note 1
 4                       Hitt Expert Report, Dkt.     Footnote 162, the last      GRANTED
      Valve, Dkt. 402    376-4, 373-1                 sentence
 5                       Hitt Expert Report, Dkt.     Footnote 397, the fifth     GRANTED
      Valve, Dkt. 402    376-4, 373-1                 sentence
 6                       Hitt Expert Report, Dkt.     Footnote 623, the           GRANTED
      Valve, Dkt. 402    376-4, 373-1                 second sentence
 7                       Malackowski Expert Report,                               GRANTED
      Valve, Dkt. 402    Dkt. 376-5, 373-2            ¶ 202, the last sentence
 8                       Malackowski Expert Report,                               GRANTED
      Valve, Dkt. 402    Dkt. 376-5, 373-2            ¶ 204, the tenth sentence
 9                       Malackowski Expert Report,                               GRANTED
      Valve, Dkt. 402    Dkt. 376-5, 373-2          Figure 17
10                                                  ¶ 148, the second to last GRANTED
                         Schmalensee Expert Report, sentence
11    Valve, Dkt. 402    Dkt. 373-5, 376-8
                         Schmalensee Expert Report, Exhibit 5.B, two entries GRANTED
12    Valve, Dkt. 402    Dkt. 373-5, 376-8          under “Steam”
                         Schmalensee Expert Report, Footnote 242              GRANTED
13    Valve, Dkt. 402    Dkt. 373-5, 376-8
                         Schmalensee Expert Report, Footnote 602, the last GRANTED
14
      Valve, Dkt. 402    Dkt. 373-5, 376-8          sentence
15                       VALVE 000639-000649,                                 GRANTED
                         Brass Decl. Ex. 36, Dkt.
16    Valve, Dkt. 402    377-20, 375-36             Entirety
                         VALVE 000675-000676,                                 GRANTED
17                       Brass Decl. Ex. 37, Dkt.
      Valve, Dkt. 402    377-21, 375-37             Entirety
18    Valve, Dkt. 426-   Hitt Expert Report, Dkt.                             GRANTED
      1, 427             426-2                      Highlighted portions
19    Valve, Dkt. 426-   Malackowski Expert Report,                           GRANTED
      1, 427             Dkt. 426-2                 Highlighted portions
20    Valve, Dkt. 426-   Schmalensee Expert Report,                           GRANTED
      1, 427             Dkt. 426-2                 Highlighted portions
21
            In light of the foregoing, any party and/or non-party required to file an unredacted document
22
     must be so within 14 days from the date of this Order.
23
            This Order terminates Docket Nos. 331, 349, 376, 381, 399, 421, and 426.
24
     IT IS SO ORDERED.
25
                 December 6
      DATED: ______________________, 2021
26
27
                                                            ______________________________________
28                                                            The Honorable Yvonne Gonzalez Rogers
                                                                   United States District Judge

                                                       32
